FILED
CHARLOTTE, NC

OCT 19 2020
IN THE UNITED STATES DISTRICT COURT Us DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA WESTERN DISTRICT OF NC
CHARLOTTE DIVISION
DOCKET NO.: 3:19cr408-FDW
UNITED STATES OF AMERICA )
) CONSENT ORDER AND
v. ) JUDGMENT OF FORFEITURE
) PENDING RULE 32.2(c)(2)
CARLTON KERNEL SHERRILL )

BASED UPON the Defendant’s plea of guilty and finding that there is a nexus between
the property listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or other
legal interest in the property, IT IS HEREBY ORDERED THAT:

I. The following property is forfeited to the United States pursuant to 21 U.S.C. §
853, 18 U.S.C. § 924 and/or 28 U.S.C. § 2461(c), provided, however, that forfeiture of specific
assets is subject to any and all third party petitions under 21 U.S.C. § 853(n), pending final
adjudication herein:

Approximately $833 in US Currency, seized on or about November 24, 2018, during
the investigation;

One High Standard, Model D-101, .22 caliber pistol, serial number D54322, and
ammunition, seized on or about November 24, 2018, during the investigation;

One Savage, Model Stevens 200, .223 caliber rifle, serial number G350093, and
ammunition, seized on or about November 24, 2018, during the investigation;

One New England Firearms, Pardner, 20 gauge shotgun, serial number NC286257,
and ammunition, seized on or about November 24, 2018, during the investigation;

Approximately $437 in US Currency, seized on or about October 18, 2019, during the
investigation.

2. The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

3. If and to the extent required by Fed. R. Crim. P. 32.2(b)(6), 21 U.S.C. § 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written notice
of forfeiture.

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4. Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity of the alleged interest.

5, Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry of this order, the United States
Attorney’s Office is authorized to conduct any discovery needed to identify, locate, or dispose of
the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45,

6. As to any specific assets, following the Court’s disposition of all timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall
become the final order of forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.

The parties stipulate and agree that the aforementioned asset(s) constitute property derived
from or traceable to proceeds of Defendant’s crime(s) herein or constitute property involved in or used in
the offense(s) and are therefore subject to forfeiture pursuant to 21 U.S.C. § 853, 18 U.S.C. § 924
and/or 28 U.S.C. § 2461 (c). The Defendant hereby waives the requirements of Fed. R. Crim. P.
32.2 and 43(a) regarding notice of the forfeiture in the charging instrument, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment against Defendant. If
the Defendant has previously submitted a claim in response to an administrative forfeiture
proceeding regarding any of this property, Defendant hereby withdraws that claim. If Defendant
has not previously submitted such a claim, Defendant hereby waives all right to do so. As to any
firearms listed above and/or in the charging instrument, Defendant consents to destruction by
federal, state, or local law enforcement authorities upon such legal process as they, in their sole
discretion deem to legally sufficient, and waives any and all right to further notice of such process
or such destruction.

R. ANDREW MURRAY
UNITED STATES ATTORNEY

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LAMBERT GUINN Pemssne~ ) CARLTON KERNEL SHERRILL
Assistant United States Attorney Defendant

 

Allonicy for Defendant

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Signed this the day of October, 2020.

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TH NO DAVID C. KEESLER
UNITED STATES MAGISTRATE JUDGE

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